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JoHN W. HUBER, omer states Aaomey (#7226) …Im OF UTAH
VERNoN G. sTEJsKAL, Assistam limited states Artomey (#8434) NOV 2 2 2016
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san Lake oity, Utah 84111 ' "’E"’*K
Telephone: (801)-524-5682
IN THE UNITED STATES DISTRICT COURT
DISTRICT OF UTAH, CENTRAL DIVISION
UNITED STATES OF AMERICA, Case No. 2 f fw /,\/1:] B~q»?___ D BP
Plaintiff, AMENDED COMPLAINT
Vs. Possession of Fentanyl With Intent to
Distribute
AARON MICHAEL SHAl\/IO,
Defendant. l Magistrate Judge Dustin B. Pead

 

 

Bei`ore Dustin B. Pead, United States Magistrate Judge for the Distriot of Utah,

appears the undersigned, Who von oath deposes and says:
COUNT 1
On or about November 22, 2016, in the Central Division of the District of Utah,
AARON MICHAEL SHAl\/IG,

the named defendant herein, did knowingly and intentionally possess With intent to
distribute Fentanyl, a Schedule ll controlled substance, Within the meaning of
21 U.S.C. § 812; all in violation of21 U.S.C. §841(a)(1), and punishable pursuant to 21

U.s.c. §341(1>)(1)(<:).

 

 

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Complainant states that this complaint is based on information obtained through an

investigation consisting of the following:

l .

Complainant is a South Jordan Police Officer currently assigned to the Drug
Enforcement Administration Metropolitan Narcotics Task Force
(DEAl\/[NTF) as a narcotics investigator Complainant is familiar with the

facts and circumstances alleged in this complaint

 

On Novernber 22, 2016, agents and officers executed a search warrant at the
home of Aaron Michael SHAMO, at 7939 Titian Street in Cottonwood
Heights, Utah, and at a stash location at 11469 Openview Lane in South
Jordan, Utah.

Inside the Openview home, officers located what appears to be more than
approximately 70,000 pills that have the appearance of oxycodone, and more
than approximately 25,000 pills that have the appearance of Alprazolam,
a/lda Xanax. Both Oxycodone and Alprazolam are Schedule H controlled
substances

Inside the Titian home, officers located a pill press and bulk powdery
substances that appeared to be ready to be pressed into pill form.

Based on a prior investigation spanning several months, agents have reason
to believe that the powdery substance was Fentanyl. Agents also have
reason to believe that the pills having the appearance of oxycodone actually

contain the Schedule ll controlled substance Fentanyl. lt is believed that the

 

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press was used to create the pills using the powdery substances Due to the
extreme dangerousness of Fentanyl, agents have not yet been able to test the
substances seized at the SHAMO home on November 22, 2016. A
Hazardous Materials team is on the scene and is safely processing the horne
and the seized items.

SHAMO is known to have employed several individuals over the last year to

 

 

accept shipments of packagesifrom China at their residences.ilhese
individuals would deliver the packages to SHAMO without opening them or
inspecting the contents.

Within the last few months, law enforcement agents were able to seize
several of the packages that were shipped to these individuals from China.
One package was tested by a crime lab, and was found to contain 120 grams
of Fentanyl. Other packages intended for SHAMO were similarly labeled,
and the contents had a similar appearance

Based on the prior testing and the appearance of the seized items, agents
believe that the pills having the appearance of oxycodone which were seized
on November 22, 2016 contain the Schedule ll controlled substance
Fentanyl.

Agents also located and seized packaging materials from the SHAMO home
on November 22. Based on the prior investigation, agents know that

SHAMC) packages the pills in numerous smaller packages and distributes

 

 

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them by shipping them to various addresses around the United States using

the United States Postal Service or other ackage delivery services.

  

"___"""\

DENNIS POWER
Task Force Officer
Drug Enforcement Administration

 

APPROVED :

JO W. HUBER

§Wey

VERNON G. STEJSKAL
_ Assistant United States Attorney

 
   

 

SUBSCRIBED AND SWORN TO BEFORE ME this 22nd day of November,
2016. 1 d

  

 

DUsi;&r’B. P D
Unite tates agistrate Judge

 

 

 

 

